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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                               V.                                     (For Offenses Committed On or After November I, 1987)
            CHRISTIAN DANIEL GARCIA (1)
                                                                         Case Number:        3:16-CR-00107-JAH

                                                                      Lauren Williams
                                                                      Defendant's Attorney                        Fll_EQ
REGISTRATION NO.                51619-298
•-                                                                                                              I oc T 2 02020 j
THE DEFENDANT:                                                                                                 CLEHK. 0.s. OiSI!( ,:r COLHn
                                                                                                          SCUTHEfll-., Cis-11,cT ci: Cil.LIFOilNltl
lg] admitted guilt to violation of allegation(s) No.        1-3                                           BY                              DEPUTY

D    was found guilty in violation of allegation(s) No.                                                after denial of guilty.
                                                           --------------
Accordingly, the court has ac\judicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation

               I                    nvl, Committed a federal, state or local offense

             2-3                    nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
                                    Act)



     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      October 19 2020



                                                                      m_thED STATES DISTRICT JUDGE

                                                                      J
           Case 3:16-cr-00107-JAH Document 101 Filed 10/20/20 PageID.153 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDA~T.                Cl'I:R:ISTIKN U-A.NTELVA:RCIA: (l)                                        udgment - Page 2 of2
CASE NUMBER:              3:16-CR-00107-JAH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
   5 months consecutive to sentence imposed in case 20CR0462-JAH




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 lZI   The court makes the following recommendations to the Bureau of Prisons:

       Incarceration in the Southwest region




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at _ _ _ _ _ _ _ _ _ A.M.                         on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       •     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •      as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL




                                                                                                   3:16-CR-00107-JAH
